            Case 1:22-mj-06402-UA Document 1 Filed 08/04/22 Page 1 of 11

                                                                                          Original


Approved:
                    EMILY DEININGER
                    Assistant United States Attorney

Before:             THE HONORABLE KATHERINE H. PARKER
                    United States Magistrate Judge                                       22 MAG 6402
                    Southern District of New York

                            -       -   -   -   -   -   -   -   -   -   -   -   -   X
                                                                                        SEALED COMPLAINT
UNITED STATES OF AMERICA
                                                                                        Violation of
                    - v.        -                                                       18 U.S.C. § 1956(h)

MOISES HANONO AZRAK,
        a/k/a "Moe,"                                                                    COUNTY OF OFFENSE:
                                                                                        NEW YORK
                                            Defendant.
-   -   -   -   -   -   -   -       -   -   -   -   -   -   -   -   -   -   -   -   X


SOUTHERN DISTRICT OF NEW YORK, ss.:

          EDWARD MATEO, being duly sworn, deposes and says that
he is a Special Agent with the United States Drug Enforcement
Administration ("DEA"), and charges as follows:

                                           COUNT ONE
                            (Conspiracy to Commit Money Laundering)

     1.   From at least in or about 2020 through at least in or
about July 2022, in the Southern District of New York and
elsewhere, MOISES HANONO AZRAK, a/k/a "Moe," the defendant, and
others known and unknown, willfully and knowingly did combine,
conspire, confederate, and agree together and with each other to
commit money laundering, in violation of Title 18, United States
Code, Section 1956(a) (1) (B).

     2.   It was a part and an object of the conspiracy that
MOISES HANONO AZRAK, a/k/a "Moe," the defendant, and others
known and unknown, knowing that the property involved in certain
financial transactions represented the proceeds of some form of
unlawful activity, would and did conduct and attempt to conduct
such financial transactions, which in fact involved the proceeds
of specified unlawful activity, to wit, (i) felonious narcotics
offenses, in violation of Title 21, United States Code; and (ii)
offenses against a foreign nation involving the manufacture,
importation, sale, or distribution of a controlled substance (as
     Case 1:22-mj-06402-UA Document 1 Filed 08/04/22 Page 2 of 11




such term is defined for purposes of the Controlled Substances
Act), knowing that the transactions were designed in whole or in
part to conceal and disguise the nature, the location, the
source, the ownership, and the control of the proceeds of the
specified unlawful activity, and to avoid a transaction
reporting requirement under State and Federal law, in violation
of Title 18, United States Code, Section 1956(a) (1) (B) (i) and
(ii) .

        (Title 18, United States Code, Section 1956(h) .)

          The bases for my knowledge and for the foregoing
charges are, in part, as follows:

     3.   I have been a DEA Special Agent for approximately four
years During that time, I have participated in numerous
investigations of unlawful drug distribution as well as money
laundering. During the course of those investigations, I have
conducted or participated in surveillance, drug transactions
with undercover officers and confidential informants, the
introduction of undercovers, the execution of search warrants,
debriefings of witnesses, and reviews of taped conversations and
drug records. Through my training, education, and experience, I
have become familiar with the manner in which illegal drugs are
imported and distributed; the way in which illegal drugs are
prepared, packaged, and sold on the street; some of the methods
of payment for such drugs; and some of the methods that are used
to disguise the source and nature of the profits made by drug
dealers.

     4.   This affidavit is based on that experience, my
conversations with other law enforcement officials, and my
examination of reports and records.  Because this affidavit is
being submitted for the limited purpose of demonstrating
probable cause, it does not include all the facts I have learned
during the course of my investigation.  Where the contents of
documents and the actions, statements, and conversations of
others are reported herein, they are reported in substance and
in part, except where otherwise indicated.

                              Overview

      5.  Based on my experience and training, and my
participation in this investigation, I know that drug
trafficking organizations ("DTOs") use the international trade
and financial systems to transfer money obtained through the
sale of narcotics in the United States across international


                                  2
      Case 1:22-mj-06402-UA Document 1 Filed 08/04/22 Page 3 of 11




borders and disguise the illicit original of the proceeds.
Specifically, after drugs are sold for dollars in the United
States, a foreign OTO extends a "contract," which are offers to
purchase narcotics proceeds (usually United States dollars), to
a money laundering broker.   Once the U.S. dollars are delivered,
typically through a bulk cash pickup in the United States, the
broker releases the agreed upon amount of currency in the
narcotics trafficker's home country.   The money laundering
broker then introduces the narcotics proceeds into the U.S.
banking system, including through the use of corporate shell
entities.  The money laundering broker may then use the funds to
purchase goods, either from the United States or other markets,
that can be transported to the broker's home country and sold
for value.   This system, which allows drug traffickers to
collect narcotics proceeds in their home country without ever
sending money in cross-border transactions from the United
States, is known as the Black Market Peso Exchange ("BMPE").

     6.   Since in or about 2019, DEA has been investigating a
number of individuals based in Mexico who participate in the
repatriation of drug cartel proceeds to Mexico and other
countries through the BMPE.  As set forth in greater detail
below, the investigation has uncovered that MOISES HANONO AZRAK,
a/k/a "Moe," the defendant, is a money-laundering broker based
in Mexico City, Mexico. AZRAK helps drug cartels arrange to get
money from the United States and other countries back to Mexico
and other countries through the BMPE.

     7.   As set forth in greater detail below, between in or
about 2020 through at least in or about July 2022, MOISES HANONO
AZRAK, a/k/a "Moe," the defendant, facilitated the laundering of
approximately $3.6 million of narcotics proceeds.

                    Introduction of AZRAK to CS-1

     8.   As part of the investigation, I and other DEA agents
have debriefed a confidential source ("CS-1") . 1 Based on my
conversations with CS-1 and other law enforcement officers, my
review of law enforcement reports regarding CS-1, and my


1 CS-1 has been cooperating with law enforcement since early 2018.   CS-
1 has pled guilty to money laundering offenses and is cooperating in
the hopes of receiving leniency at sentencing.   Information CS-1 has
provided has been corroborated by other evidence gathered, including
bank records, toll records, and information provided by other
confidential sources.



                                   3
     Case 1:22-mj-06402-UA Document 1 Filed 08/04/22 Page 4 of 11




training and experience,    I have learned the following,   in
substance and in part:

           a.  Prior to cooperating with the Government, CS-1 was
a broker for money-launderers located across the world, including
Mexico, Columbia, Hong Kong, Israel, and elsewhere.      CS-1 would
receive "contracts," which are offers to purchase narcotics
proceeds (usually United States dollars) for currency in the
narcotics trafficker's home country, often at a discount.      CS-1
would work on behalf of other money-laundering brokers, helping
them retrieve narcotics proceeds in the United States and sending
those proceeds to U.S. bank accounts in the name of shell companies
in exchange for a commission.

             b.   In or about September 2020, CS-1 was contacted by
another DEA confidential source based in Mexico City, Mexico
 ("CS-2") . 2 CS-2 informed CS-1 that CS-2 had been introduced to
two individuals, one of whom was known as "Moe," who could
provide U.S.-based accounts for the purposes of laundering
narcotics proceeds.

          c.   CS-2 stated that CS-2 had given CS-l's contact
information to "Moe" and told "Moe" that CS-1 was responsible
for coordinating all bulk cash pickups and wire transfers.

             d.   CS-2 then provided CS-1 with a telephone number
for "Moe."

          e.   In or about October 2020, CS-2 identified a
photograph of MOISES HANONO AZRAK, a/k/a "Moe," the defendant,
which was obtained from a United States visa application
submitted by AZRAK, as the individual CS-2 knew as "Moe."

                     Money Laundering Transactions

     9.   Based on my participation in this investigation; my
conversations with others, including law enforcement officers and
CS-1; and my review of communications, including WhatsApp chats

2 CS-2 has been cooperating with law enforcement since 2019.   Prior to
cooperating with the Government, CS-2 was a broker for money-
launderers located across the world, including Mexico, Columbia, Hong
Kong, Israel, and elsewhere.  CS-2 is cooperating with law enforcement
in exchange for financial compensation.   Information CS-2 has provided
has been corroborated by other evidence gathered, including bank
records, toll records, and information provided by other confidential
sources.



                                   4
        Case 1:22-mj-06402-UA Document 1 Filed 08/04/22 Page 5 of 11




and recorded conversations, between CS-1 and MOISES HANONO AZRAK,
a/k/a "Moe," the defendant, I have learned the following, in
substance and in part:

          a.   Between in or about October 2020 and in or about
July 2022, AZRAK gave more than 40 money laundering contracts for
bulk cash pickups to CS-1, for a total of more than $3.6 million.
During that time period, CS-1 communicated with AZRAK extensively,
primarily through WhatsApp chats and calls, 3 to arrange those bulk
cash pickups and for AZRAK to provide CS-1 with instructions on
where the funds should subsequently be sent.

          b.    DEA undercover operations associated with the money
laundering contracts AZRAK passed to CS-1 resulted in the seizure
of more than $2 million in narcotics proceeds in cities across the
United States, in addition to seizures of substantial quantities
of narcotics and at least one firearm.

          c.   For example, in or about October 2 02 0, a money
laundering broker who has historically given contracts to CS-1
("CC-1"), gave CS-1 a contract for a bulk cash pickup of United
States currency located in Appleton, Wisconsin. Specifically, the
following occurred:

             i.     On or about October 12, 2020, CC-1 told CS-1
that CC-1 had a pickup of currency available in Appleton,
Wisconsin. At the direction of law enforcement, CS-1 accepted the
contract and provided CS-1 with a dollar bill serial number ("Bill
Code-1") that could be used to corroborate the involvement of
another individual in the pickup.

            ii.     On or about October 13, 2020, an unknown male
("UM-1") called CS-1, provided Bill Code-1, and requested a pickup
of approximately $100,000.

           iii.     On or about October 16, 2 02 0, an undercover
officer ( "UC-1") met with UM-1 at a pre-arranged location in
Appleton, Wisconsin, where UM-1 gave UC-1 a grey bag containing an
Amazon Prime package that was later determined to contain $105,990
in United States currency.

            iv.     On or about October 21, 2020, AZRAK contacted
CS-1 and instructed CS-1 that the funds picked up in Appleton
should be split up and wired to three bank accounts, including one


3
    CS-1 has provided copies of those WhatsApp chats to the DEA.


                                     5
     Case 1:22-mj-06402-UA Document 1 Filed 08/04/22 Page 6 of 11




held by a corporate entity with an address in Port Chester,         New
York.

             v.     Law enforcement agents     involved in this
investigation then sent wires totaling $101,450 to those accounts,
including a wire transfer to $57,450 the corporate entity located
in Port Chester.

          d.   In or about October 2 02 0, AZ RAK passed a money
laundering contract to CS-1 for approximately $150,000 in Chicago,
Illinois, as follows:

                i.  On or about October 13, 2020, AZRAK told CS-1
that there he had a bulk cash pickup available in Chicago,
Illinois. At the direction of law enforcement, CS-1 accepted the
contract and provided AZRAK with a dollar bill serial number (the
"Serial Number") that could be used to corroborate the involvement
of another individual in the pickup.

               ii.  On that same day, an unknown male ( "UM-2)
contacted CS-1, provided the Serial Number, and stated that he had
$300,000 in cash to give to CS-1.

              iii.  On or about October 16, 2020, an undercover
officer ("UC-2") arranged to meet with UM-2 in the parking lot of
a hardware store located in Broadview, Illinois, where an unknown
female gave UC-2 a white backpack that was later determined to
contain approximately $200,000 in United States currency.

               iv.   On or about October 20, 2020, AZRAK directed
CS-1 to wire the funds to four separate bank accounts.        Law
enforcement agents involved in this investigation then sent wires
in the amounts of approximately $150,000, $27,300, $9,000, and
$6,700, for a total of $193,000 (totaling the $200,000 that had
been picked up minus a $7,000 "commission"), to the four account5
identified by AZRAK.

          e.   In or about October 2021, AZRAK passed a money
laundering contract to CS-1 for approximately $220,000 in Los
Angeles, California, that resulted in a seizure of narcotics
proceeds, narcotics, and a firearm, as follows:

                i.  On or about October 13, 2021, AZRAK advised
CS-1 that there was $220,000 in United States currency in Los
Angeles, California that needed to be picked up.      CS-1 then
provided AZ RAK with the telephone number of a DEA undercover
officer ("UC-3") in Los Angeles.


                                   6
     Case 1:22-mj-06402-UA Document 1 Filed 08/04/22 Page 7 of 11




               ii.   That same day, UC-2 received a phone call from
an unknown male ("UM-3"), who arranged to meet UC-3 the following
day.   In a separate call shortly thereafter, UM-3 confirmed that
he had $120,000 for UC-3 to pick up.

              iii.  On or about October 14, 2021, UM-3 and UC-3
arranged for another unknown male ("UM-4") and another undercover
officer ("UC-4") to meet at a hardware store located in Ontario,
California.  During that meeting, UM-4 gave UC-4 a black backpack
that was later determined to contain approximately $120,000 in
cash wrapped in vacuum sealed bundles.

               iv.  Later that day,   UM-3 contacted UC-3 and
arranged for a second amount of bulk currency to be delivered by
UM-4 to UC-4 at the same location in Ontario, California.

                v.  Shortly thereafter, law enforcement officers
performing physical surveillance of UM-4's vehicle stopped the car
for a vehicle code violation while it was driving towards the
arranged meeting location.   During the stop, UM-4 consented to a
search of the car. The officers discovered $120,000 in bulk cash
hidden in a concealed compartment.

               vi.  UM-4 then consented to a search of his
residence in Upland,    California.    During a search of that
residence, law enforcement officers found a handgun, one kilogram
of cocaine, and another car with the passenger airbag removed in
a manner that created a hidden compartment.

          f.   In or about December 2021, AZRAK gave another money
laundering contract to CS-1, for approximately $150,000 in Omaha,
Nebraska, that resulted in a seizure of narcotics proceeds and
narcotics, as follows:

                i.  On or about December 6, AZRAK advised CS-1
that there was approximately $150,000 in United States currency
located in Omaha, Nebraska that needed to be picked up. CS-1 then
provided AZRAK with the phone number of a DEA undercover officer
("UC-5") located in Omaha, Nebraska.

                 ii.  UC-4 was subsequently contacted by an unknown
male ("UM-5")   regarding arrangements for the cash pickup.

              iii.  Based on, among other things, the telephone
number used by UM-5, DEA agents subsequently identified UM-5 and
conducted surveillance on UM-4's residence (the "UM-5 Residence").


                                   7
      Case 1:22-mj-06402-UA Document 1 Filed 08/04/22 Page 8 of 11




On or about the morning of December 13, 2021, a DEA special agent
observed UM-5 exit the UM-5 Residence and drive a black van
northward.  Shortly thereafter, law enforcement agents conducted
a traffic stop of the black van.    During the stop, UM-5 advised
that he was in possession of $150,000 in United States currency.
During a search of the van, multiple bundles of United States
currency wrapped in plastic wrap were found within a black toolbox.

               iv.   During a subsequent interview, UM-5 told law
enforcement agents, in substance and in part, that he had received
the cash seized from the black van from an individual ("UM-6") who
distributed cocaine, that he had been directed by UM-6 to deliver
the cash to an unknown person who would meet him at a hardware
store located in Omaha, Nebraska, and that UM-5 was on his way to
make the delivery of the bulk cash when the traffic stop took
place.   UM-5 provided the telephone number of UC-5 as the number
of the person he was supposed to meet at the hardware store.

                v.   DEA  agents   then  obtained   a   judicially
authorized search warrant for a residential address identified as
being used by UM-6.    On or about February 17, 2022, during the
execution of that search warrant, approximately 5 90 grams of
cocaine were found along with several digital scales and narcotics
packaging materials.

              vi.   During an interview conducted later that day,
UM-6 acknowledged distributing cocaine and stated that the
approximately $150,000 that had been seized from UM-5 was derived
from the sale of cocaine.

                   August 2022 Interview of AZRAK

     10. Based on my participation in a July 31, 2022 interview
of MOISES HANONO AZRAK, a/k/a "Moe," the defendant, I know that,
on or about July 31, 2022, Special Agents with the DEA
approached AZRAK aboard a cruise ship that had docked in
Seattle, Washington. AZRAK agreed to speak with the agents, and
they then travelled together to the DEA's Seattle Division
Office. AZRAK was read his Miranda rights and signed a written
form consenting to be interviewed without an attorney present.
AZRAK then told the law enforcement agents, in substance and in
part, the following:




                                   8
     Case 1:22-mj-06402-UA Document 1 Filed 08/04/22 Page 9 of 11




          a.   AZRAK began "trading money" in or about 2015.   In
or about 2018, AZRAK was asked by a client if he could receive
cash in the United States and make payments in Mexico City.
AZRAK then began coordinating bulk cash pickups in the United
States. AZRAK charged a 4% fee for his role in the
transactions.

          b.   AZRAK worked with several other individuals,
based both in Mexico City and the United States, to remit money
from the United States to Mexico City.

          c.   AZRAK received contracts from at least two
individuals, both of whom were Mexican and based in Mexico City.

           d.   AZRAK obtained U.S.-based bank accounts that
could be used for money laundering transactions from at least
three other individuals, including a money laundering broker who
had been identified during the course of this investigation
 ("CC-2").  CC-2 provided AZRAK with accounts that could be used
in connection with the bulk cash pickups being conducted in the
United States.

          e.   AZRAK stated that he understood that the money
came from drugs based on the fact that it was being picked up in
the United States and secretly brought to Mexico to pay random
people.

          f.   AZRAK indicated that he wanted to cooperate with
law enforcement, and agreed to travel from Seattle to New York
City to participate in further debriefings.

     11. Based on my participation in this investigation and my
conversations with others, including my conversations with other
law enforcement officers and CS-1, I know that CC-2 is a money-
laundering broker based in Mexico City who, between in or about
2019 and 2021, facilitated the laundering of approximately $2.2
million of narcotics proceeds.  CC-2 provided CS-1 contracts for
more than 30 bulk cash pickups in the United States, including,
in or about February 2020, a bulk cash pickup of approximately
$55,000 from a location in Manhattan, New York.




                                  9
     Case 1:22-mj-06402-UA Document 1 Filed 08/04/22 Page 10 of 11




      August 3, 2022 Communications Between AZRAK and CC-3

     12. MOISES HANONO AZRAK, a/k/a "Moe," the defendant,
travelled from Seattle, Washington, to New York, New York,
accompanied by me and another law enforcement agent, on or about
August 1, 2022.

     13. Based on my participation in this investigation, my
conversations with CS-1, and my review of WhatsApp chats between
CS-1 and another money laundering broker identified during the
course of this investigation ("CC-3"), I know that on or about
August 3, 2022, CC-3 contacted CS-1 via WhatsApp and wrote, in
substance and in part, the following:

          a.   CC-3 stated that he had something urgent to tell
CS-1.  CS-3 then explained that CC-3 and CS-1 both needed to
change their phone numbers because "Moy" had been detained in
the United States the previous Sunday while on a cruise to
Alaska that left from Seattle.

          b.   CC-3 told CS-1 that he had received this
information "directly from [May's] employees."

          c.   CC-3 told CS-1 that "Moy" had been asked to
cooperate with the "agency of the 3 letters" and that he was now
in New York waiting to proffer with prosecutors in the next few
days.  Based on my training, experience, and participation in
this investigation, I believe that the "agency of the 3 letters"
refers to the DEA.

          d.   CC-3 then re-emphasized to CS-1 that they should
change their numbers, and also that CS-1 should warn another
individual that CS-1 works with.

     14. Based on my participation in this investigation and
the interview of MOISES HANONO AZRAK, a/k/a "Moe," the
defendant, conducted on July 31, 2022, I know that AZRAK did not
identify CC-3 as someone that AZRAK engaged in money laundering
activities with or otherwise mention CC-3 during the course of
that interview.

          WHEREFORE, the deponent respectfully requests that a
warrant be issued for the arrest of MOISES HANONO AZRAK, a/k/a
"Moe," the defendant, and that he be arrested and imprisoned or
bailed, as the case may be.




                                  10
      Case 1:22-mj-06402-UA Document 1 Filed 08/04/22 Page 11 of 11




                             Isl Edward Mateo w/ permission
                           EDWARD MATEO
                           Special Agent
                           Drug Enforcement Administration


Sworn to before me by reliable electronic means this
--1._th day of August, 2022



THE HONORABLE KATHERINE H. PARKER
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




                                   11
